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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

SPIRE STL PIPELINE LLC,                         )
                                                ) Cons. Case No: 4:18-CV-01327
        Plaintiff,                              )
                                                ) THIS DOCUMENT APPLIES
v.                                              ) TO CASES:
                                                )     4:18-CV-01343-SRC-DDN and
                                                )     4:18-CV-01371-SRC-DDN.
                                                )
3.31 ACRES OF LAND, MORE OR LESS,               )     Tract No. MO-SC-307.000 and
SITUATED IN ST. CHARLES COUNTY,                 )     Tract No. MO-SC-330.000
STATE OF MISSOURI et al;                        )
                                                )
        Defendants.                             )

                     REQUEST TO SCHEDULE COMMISSIONERS’ HEARING
                       FOR POGGEMOELLER AND MACHENS TRACTS

        Plaintiff Spire STL Pipeline LLC (“Spire”), and with Defendants Poggemoeller and

Machens’ consent, respectfully requests the Court schedule the next Commissioners’ Hearing for

the week of July 26, 2021, or a date in August pending the Court, Commissioners’, and parties’

availability. In support of its request, Spire states:

        1.      The next two cases in line for trial involve the following Defendants:

             a. Alan and Sharon Poggemoeller, Case No. 4:18-CV-01343-SRC-DDN (Tract No.

                MO-SC-307.000); and

             b. Kevin and Shelley Machens, Case No. 4:18-CV-01371-SRC-DDN (Tract No. Tract

                No. MO-SC-330.000).

        2.      Defendants Poggemoeller and Machens are both represented by Mr. Walker.

        3.      The Parties have conferred and agree that the Poggemoeller and Machens matters

may be tried together in light of the overlap of witnesses and experts likely to be called at trial.




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       4.      The Parties have also conferred regarding availability of their respective witnesses

and scheduling, and agree the cases can be set for trial the week of July 26, 2021, pending the Court

and the Commissioners’ availability.

       5.      If the Commissioners are not available that week, then the Parties respectfully

request available dates in August, and the parties will then need to confer with their clients and

witnesses about their availability.

       6.      Assuming the trial can be scheduled the week of July 26, 2021, the Parties propose

that the deadline to file witness lists, exhibits lists, deposition designations, and any additional

motions(s) in limine be set for Friday, July 16, 2021.

       7.      The Parties also propose that any objections to exhibits or deposition designations,

counter-designations, and responses to motion(s) in limine be filed by Friday, July 23, 2021.

       WHEREFORE, Plaintiff Spire, and with Defendants’ consent, respectfully requests the

Commissioners’ Hearing for the Poggemoeller and Machens matters be scheduled for the week of

July 26, 2021, and for such other and further relief as the Court shall deem just and proper.


                                               Respectfully submitted,

                                               HAMILTON WEBER LLC

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing document was
served this 7th day of July, 2021, by:

       Hand delivery
       United States mail, postage prepaid
       Electronic transmission (E-mail);
  X    Notice of Electronic Filing pursuant to Fed.R.Civ.P. 5(b)(2)(E), to:

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 Counsel for Defendants
 Alan and Sharon Poggemoeller and
 Kevin and Shelley Machens

                                                    /s/ David T. Hamilton




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